


  Upon consideration of the petition filed by Defendant on the 29th day of June 2007 in this matter for a writ of certiorari to review the order (and supporting memo) of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
 

  "Denied by order of the Court in conference, this the 6th day of March 2008."
 

  Upon consideration of the petition filed by Defendant on the 15th day of October 2007 in this matter for a writ of certiorari to review the order of the Superior Court, Duplin County, the following order was entered and is hereby certified to the Superior Court of that County:
 

  "Dismissed by order of the Court in conference, this the 6th day of March 2008."
 

  Upon consideration of the petition filed by Defendant on the 15th day of October 2007 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
 

  "Denied by order of the Court in conference, this the 6th day of March 2008."
 
